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                           Deposition of:
                       Jocelyn Heredia
                         October 15, 2021


                          In the Matter of:

      Fair Fight, Inc., Et Al. Vs. True The
                   Vote, Et Al




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1                           UNITED STATES DISTRICT COURT

2                           NORTHERN DISTRICT OF GEORGIA

3                                GAINESVILLE DIVISION

4         ________________________________

5         FAIR FIGHT, INC., SCOTT BERSON,

6         JOCELYN HEREDIA, AND JANE DOE,

7                        Plaintiffs,

8                   v.                                          Civ. No.

9         TRUE THE VOTE, INC., CATHERINE                        2:20-cv-00302-

10        ENGELBRECHT, DEREK SOMERVILLE,                        SCJ

11        MARK DAVIS, MARK WILLIAMS, RON

12        JOHNSON, JAMES COOPER, AND

13        JOHN DOES 1-10,

14                       Defendants.

15        ________________________________

16                            VIDEOTAPED DEPOSITION OF

17                                   JOCELYN HEREDIA

18        DATE:               Friday, October 15, 2021

19        TIME:               2:00 p.m.

20        LOCATION:           Remote Proceeding

21                            871 Third Street, Apartment 1545

22                            Atlanta, GA 30318

23        REPORTED BY:        Deidra Musick Nash, Notary Public

24        JOB No.:            4845630

25

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1                                A P P E A R A N C E S

2         ON BEHALF OF PLAINTIFFS FAIR FIGHT, INC., ET AL:

3                   CHRISTINA FORD, ESQUIRE (by videoconference)

4                   Elias Law Group

5                   10 G Street Northeast, Suite 600

6                   Washington, DC 20002

7                   cford@elias.law

8

9                   UZOMA NKWONTA, ESQUIRE (by videoconference)

10                  Elias Law Group

11                  10 G Street Northeast, Suite 600

12                  Washington, DC 20002

13                  unkwonta@elias.law

14

15        ON BEHALF OF DEFENDANT TRUE THE VOTE, INC., ET AL:

16                  COURTNEY KRAMER, ESQUIRE (by videoconference)

17                  Bopp Law Firm

18                  104 Marietta Street Northwest, Suite 100

19                  Atlanta, GA 30303

20                  ckramer@bopplaw.com

21

22        ALSO PRESENT:

23                  Todd Davis, Videographer (by videoconference)

24                  Bailey Neher, Tech Concierge (by videoconference)

25

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1                                           I N D E X

2         EXAMINATION:                                                        PAGE

3                   By Ms. Kramer                                             6

4

5                                    E X H I B I T S

6         NO.                 DESCRIPTION                                     PAGE

7         Exhibit A           Notice of Deposition                            10

8         Exhibit B           Responses to Defendants' First

9                             Set of Interrogatories                          37

10        Exhibit E           Banks County Election Website                   32

11        Exhibit F           Georgia Voter File Excerpt                      15

12        Exhibit H           Jocelyn Heredia LinkedIn Profile                39

13        Exhibit J           Georgia Election Code Excerpt

14                            (O.C.G.A. § 21-2-230)                           26

15        Exhibit L           U.S.P.S. Change of Address

16                            Confirmation                                    42

17        Exhibit N           Georgia Voter Registration Data                 51

18

19                               (Exhibits attached.)

20

21                       QUESTIONS INSTRUCTED NOT TO ANSWER

22                                   PAGE                      LINE

23                                     63                       15

24                                     72                       15

25                                     72                       20

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1                                P R O C E E D I N G S

2                             REPORTER:       Good afternoon.        My name is

3         Deidra Nash; I am the reporter assigned by Veritext to

4         take the Zoom record of this proceeding.                 We are now

5         on the record at 2:00 p.m.             This is the deposition of

6         Jocelyn -- I can't say your last name; I'm sorry --

7         H-E-R-D-I-A [sic] taken in the matter of Fair Fight,

8         Inc., Scott Berson, et al vs. True the Vote, Inc., et

9         al.       This deposition is being digitally recorded on

10        October 15, 2021, at 871 Third Street, Apartment 1545,

11        Atlanta, Georgia 30318.

12                            I am a notary authorized to take

13        acknowledgements and administer oaths in the state of

14        Georgia.       Parties agree that I will swear in the

15        witness remotely, outside of her presence.

16                            Additionally, absent of an objection on

17        the record before the witness is sworn, all parties

18        and the witness understand and agree that any

19        certified transcript produced from the recording,

20        virtually, of this proceeding:

21                            - is intended for all uses permitted

22                            under applicable procedural and

23                            evidentiary rules and laws in the same

24                            manner as a deposition recorded by

25                            stenographer means; and

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1                             - shall constitute written stipulation

2                             of such.

3                             And I also want to say that Todd Davis

4         is our videographer, and Ms. Bailey Neher is the

5         concierge.

6                             And at this time will everyone in

7         attendance, beginning with the taking attorney, please

8         identify yourself for the record.

9                             MS. KRAMER: Courtney Kramer with Bopp

10        Law Firm, representing the defendants.

11                            MS. FORD:       Christina Ford with Elias

12        Law Group, representing the plaintiffs and Ms. Heredia

13        today.

14                            MR. NKWONTA:         Uzoma Nkwonta from Elias

15        Law Group, representing the plaintiffs.

16                            REPORTER:       And Ms. Jocelyn, if you

17        could please identify yourself.

18                            MS. HEREDIA:         Jocelyn Heredia.        I'm a

19        plaintiff.

20                            REPORTER:       Thank you.       Hearing no

21        objections, I will now swear the witness.                  Ms.

22        Jocelyn, if you would please raise your right hand.

23        //

24        //

25        //

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1         WHEREUPON,

2                                   JOCELYN HEREDIA,

3         called as a witness, and having been first duly sworn

4         to tell the truth, the whole truth and nothing but the

5         truth, was examined and testified as follows:

6                               REPORTER:     Thank you so much.         Ms.

7         Kramer, please begin when you're ready.

8                                       EXAMINATION

9         BY MS. KRAMER:

10                  Q   Thank you for being here today, Ms. Heredia.

11        Did I get your last name -- pronounce that right?

12                  A   Yes, you did, actually.

13                  Q   Great.     Well, as you know, my name is

14        Courtney Kramer, and I represent the defendants in

15        this case.      I first want to go over a few rules for

16        this deposition, particularly because it's a remote

17        deposition.         Have you ever testified in a deposition

18        before?

19                  A   No.

20                  Q   Okay.     So this is your first time?

21                  A   Yeah.

22                  Q   Okay.     Perfect.      So I'll just go over a

23        couple rules, just so you understand how things will

24        work today.         Do you understand that you are under oath

25        today, as if you were in court?

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1                   A   Yes.

2                   Q   And during my questions, the court reporter

3         is going to be taking down what we are saying.                   And to

4         make sure we don't confuse her, let me fully finish a

5         question, and then in turn, I'll let you fully finish

6         your answer, just so we don't talk over each other.

7         Is that fair?

8                   A   That's fair.

9                   Q   Okay.

10                  A   That's good.

11                  Q   And if at any point, you don't understand a

12        question I'm asking, just let me know, and I can do my

13        best to clarify.        And if you answer a question, I will

14        assume that you understand what I'm asking.                  Is that

15        fair?

16                  A   That's fair.

17                  Q   Okay.    And I received documents from your

18        attorneys prior to today, and I'll be referring to

19        some of them as exhibits.             I will always show them to

20        you before I ask any questions about them.

21                      And since the court reporter is here and

22        appearing remotely, please answer audibly to all

23        questions, as the court reporter cannot record head

24        nods or gestures.         Does that sound good?

25                  A   Sounds good.

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1                   Q    Okay.     And are you viewing this deposition
2          by laptop?
3                   A    Yes.
4                   Q    And did you prepare for this deposition?
5                   A    I did prepare.          I spoke to my lawyer
6          yesterday, and I looked over the documents for this
7          case.
8                   Q    Okay.     And did you discuss this deposition
9          with anyone other than your attorneys?
10                  A    I discussed it with a friend.
11                  Q    Okay.     And what did you discuss about this
12         with your friend?
13                  A    That I had a deposition today.
14                  Q    Was any substance of the nature of the
15         deposition discussed?
16                  A    No.
17                  Q    Okay.     Thanks for clarifying that.                And do
18         you have any documents with you today or in front of
19         you?
20                  A    No.
21                  Q    Okay.     Perfect.        And is anyone else in the
22         room with you?
23                  A    Yes.
24                  Q    Who else is in the room with you today?
25                  A    A friend.

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1                               MS. KRAMER:          Counsel, I would ask that
2          we have the witness be in a room by herself, just for
3          the purposes of the deposition --
4                               THE WITNESS:          Okay.
5                               MS. KRAMER:          -- if possible.
6                               MS. FORD:        Jocelyn, is it easy enough
7          to ask your friend to go to a different room?
8                               THE WITNESS:          Yeah; they can go to a
9          different room.
10                              MS. FORD:        Okay.
11                              THE WITNESS:          They're working from
12         home, so give me one second.
13                              REPORTER:        Did we want to go off the
14         record, or just stand by for a second?
15                              MS. KRAMER:          I would just stand by for
16         a second, unless it takes longer than, you know, 30
17         seconds.
18                              REPORTER:        Okay.
19                              THE WITNESS:          Okay.
20         BY MS. KRAMER:
21                  Q    Thank you.        And since I'm not in the actual
22         room with you, I'm not able to see what you have in
23         front of you or if someone else enters the room.                         Can
24         you let me know if someone does enter the room at any
25         point during this deposition?

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1                   A   Yes.     I can.

2                   Q   Thank you.        And then, Ms. Heredia, do you

3         understand that you cannot ask your attorney's help to

4         respond to a particular question that's asked?

5                   A   I understand.

6                   Q   Okay.     And your attorney may object to a

7         question that I ask, but you should still respond

8         unless your attorney instructs you not to respond.

9         Does that make sense?

10                  A   That makes sense.

11                  Q   Okay.     And finally, if at any time you need

12        a break, just let me know, and we can go off the

13        record for five or ten minutes if that's needed.

14        Hopefully it won't take too long, so that won't be

15        necessary, but if you need a break, just let me know.

16                  A   Sounds good.

17                  Q   Okay.

18                              MS. KRAMER:      And at this time, can we

19        please put up what is marked as Exhibit A?

20                              TECH CONCIERGE:        Please stand by.       This

21        is Exhibit A.

22                              (Exhibit A was marked for

23                              identification.)

24        BY MS. KRAMER:

25                  Q   Ms. Heredia, can you see this document?

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1                   A   Yes.

2                   Q   Do you recognize this document?

3                   A   Yes, I do.

4                   Q   Okay.     I just want to confirm that you

5         understand that you're appearing today pursuant to

6         this Notice.

7                   A   I understand.

8                   Q   Great.      Okay.     So I just have some

9         background questions I want to start with.

10                              MS. KRAMER:      Bailey, you can take the

11        exhibit off.         Thank you.

12                  Q   Ms. Heredia, where is your current address

13        in Georgia?

14                  A   It is in Banks County.            It is -- the actual

15        address is 304 Borders Road, Commerce, Georgia 30530.

16                  Q   And how long have you resided there for?

17                  A   That's a tough question.               Approximately four

18        years.

19                  Q   And are you registered to vote from this

20        address?

21                  A   Yes.

22                  Q   How long have you voted from that address?

23                  A   So I can't recall, but I did vote from that

24        address for the presidential election and the -- the

25        special election.

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1                   Q   Okay.    So the November election -- the 2020

2         election -- and the January runoff?

3                   A   That's correct.

4                   Q   Okay.    Great.     And what is your current

5         occupation?

6                   A   I am a remote worker, and I'm a researcher.

7                   Q   For what company?

8                   A   For AT&T.

9                   Q   What kind of research do you do for AT&T?

10                  A   User experience research.

11                  Q   And that's the only company that you

12        currently work for?

13                  A   That's correct.

14                  Q   Okay.    And how long have you worked there

15        since?

16                  A   Approximately -- less than two years.

17                  Q   Okay.    Great.     When did you live in Atlanta,

18        Georgia?

19                  A   I lived in Atlanta in January and February

20        of 2020.

21                  Q   And why did you live in Atlanta during those

22        two months?

23                  A   Sure.    For this job, the AT&T job, I -- so

24        I -- I got the job, and it was a temporary position at

25        the time, so I moved to Atlanta for the job.

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1                   Q   Okay.     And when you moved there for your

2         job, did you change your mailing address to reflect

3         where you lived in Atlanta for that job?

4                   A   I did.

5                   Q   And it was just a temporary job?

6                   A   Yes.     At the time it was.

7                   Q   So you changed your address with the Postal

8         Service.      And did you change it back once you moved

9         from Atlanta?

10                  A   I did not.      Because I still had access to

11        the apartment, so, you know, if I needed the mail, I

12        could get it.         And to be honest, I don't even get that

13        much mail.

14                  Q   Did you have intentions of moving back to

15        that address, if you kept your mailing address in

16        Atlanta?

17                  A   That's hard to say.           So in March, the

18        COVID-19 pandemic hit, and we were told that we would

19        be remote.      And we were told that we -- that they

20        weren't even sure when we would go back to the office.

21        So, you know, I would be remote until my job told me

22        that I had to be in person.

23                  Q   Have you been in person with that job yet?

24                  A   In February, yes.

25                  Q   Of this year?

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1                   A      Of 2020.

2                   Q      So -- sorry; I guess I'll clarify.               You're

3         working remotely right now; is that what you --

4                   A      Correct.

5                   Q      Okay.    And so, since February of last year,

6         have you gone back to working in person in Atlanta?

7                   A      No.

8                   Q      Okay.    And is your mailing address still in

9         Atlanta?

10                  A      It's not.

11                  Q      It's not.     Okay.      When did you change your

12        address?

13                  A      I changed it -- I can't recall the exact

14        date, but I -- so we were supposed to be back into the

15        office in October, and then our job told us that we

16        would have to -- oh.              And then in September, our job

17        told us that we would not go back into the office for

18        the rest of this year, and we would be remote

19        indefinitely, until they let us know otherwise.                      So

20        recently I changed my address back to Banks County,

21        because I don't know where I'll be.                     But ...

22                  Q      Okay.    Okay.     Thanks for clarifying that.

23        Okay.         Let's start with a few questions just about the

24        2020 election.           Did you vote in the 2020 primary

25        election?

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1                   A   You mean the presidential election?

2                   Q   The primary in June of that year, so before

3         the general election.          So November was the general;

4         there was a primary before that.                I just wanted to

5         know if you voted in the primary at all.

6                   A   I believe I did not.

7                   Q   Okay.     And you voted in 2020 in November,

8         you stated; right?

9                   A   For the presidential election, yes.

10                  Q   Okay.     And for that, did you request any

11        absentee ballots for the presidential election?

12                  A   I believe I did, but I actually never

13        received it.       And so I just -- sorry.           For the

14        presidential election, I believe no; for the other

15        election, the special election, I believe yes.                   But I

16        can't recall.         I can't remember.

17                  Q   Okay.

18                              MS. KRAMER:      At this time, Bailey, can

19        we pull up Exhibit F?

20                              TECH CONCIERGE:        Please stand by.       This

21        is Exhibit F.

22                              (Exhibit F was marked for

23                              identification.)

24                              MS. KRAMER:      Counsel, just so you know,

25        I'm representing to you Ms. Heredia's portion of the

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1         Georgia voter file that's available on the Secretary

2         of State's website.         Due to the size of the original

3         file, the Excel file, I can't upload it as an exhibit

4         fully, but I can -- the link's right there -- the

5         source of it.         I just simply pulled out Ms. Heredia's

6         name from the big file, and that's what you're seeing

7         here.

8         BY MS. KRAMER:

9                   Q   So in this file, on the very first tab, is

10        the tab for the general election.                    And this is just

11        from the voter history file that's available on the

12        Secretary of State's website.               If we go up on line 2,

13        if we scroll to column S, it says that -- and we can

14        expand that -- that you requested an absentee ballot

15        for the 2020 election.           Do you remember doing this?

16                  A   Okay.

17                  Q   Ms. Heredia?

18                  A   I probably did.         I remember that I did

19        request a mail-in ballot or absentee ballot.                    But I

20        just couldn't remember if it was for the presidential

21        or the -- the special election.

22                  Q   Okay.     That's fine.        And then I also want to

23        bring your attention to where it says "Ballot Status,"

24        just right next to it, the "C" -- and this is on the

25        Secretary of State's website, too -- means "canceled,"

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1         and that's reflected in row 3, when you requested --

2         well, I guess, when there was another one that was

3         sent or requested again -- you had voted in person,

4         which is reflected under column W, where it says "in

5         person."

6                          Do you remember canceling your first ballot

7         that you requested?

8                   A      Yes.     So I requested the absentee ballot,

9         and I believe I -- I never received it.                 I don't know

10        if it got lost or -- or what happened to it, but I

11        never received it, and the time was running out to

12        vote.         So then I went to vote in person, and then they

13        made me sign a document stating that my absentee

14        ballot would be canceled because I was voting in

15        person.

16                  Q      Okay.     Yeah; that makes sense.       That's the

17        process in which the counties have to follow.                   I'm

18        sure you've heard of that by now.

19                                 MS. FORD:     Courtney, just for the

20        record, I just do want to object to the foundation of

21        this document, just because we can't verify it at this

22        moment.         But --

23                                 MS. KRAMER:      Yeah.

24                                 MS. FORD:     Just for the record.

25                                 MS. KRAMER:      Yeah; I understand.      Like

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1         I said, I'm more than happy to send you a big file of

2         this, but for the purposes of the deposition, I wasn't

3         able to upload it as a exhibit like that.                  But I

4         understand.

5         BY MS. KRAMER:

6                   Q   Okay.     And so in the November 2020 election,

7         you didn't actually receive any absentee ballots to

8         your address; correct?

9                   A   I don't remember receiving it on time.

10                  Q   Okay.

11                  A   That's why I went to vote in person.

12                  Q   And where did you vote in that election?                 Or

13        what county did you vote in?

14                  A   Banks County.

15                  Q   Okay.     And at that time, were you registered

16        to vote in Banks County?            Well, I guess you were

17        registered to vote in Banks County.                  At that time, was

18        your mailing address still the Atlanta address?

19                  A   This would be November 20 -- so this is

20        November 2019; correct?           Twenty --

21                  Q   Twenty.

22                  A   Twenty.     Is this November 2020?

23                  Q   Yes.    Yes.    So during that time, you know,

24        you previously testified that you had changed your

25        mailing address, I believe in January of February of

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1         2020, because you didn't know about remote work.                    But

2         I'm just trying to figure out if your mailing address

3         was still the Atlanta address during the November

4         election.

5                   A   I believe it was.

6                   Q   Okay.     Great.    And during the November

7         election, when you went to vote in person, you weren't

8         challenged to vote -- or did you have any issues

9         voting in person?

10                  A   I actually did not have any issues.

11                  Q   Okay.     And you were able to cast your

12        ballot?

13                  A   I was; yes.

14                  Q   Okay.     Great.    All right.         So let's move on

15        to the January Senate runoff in 2021.

16                              MS. KRAMER:      You can take -- actually,

17        let's keep this exhibit up, just for the time being.

18                  Q   If you don't mind, Ms. Heredia.              I'm going

19        to refer back to it; I just don't want to have to have

20        Bailey keep pulling it up and putting it back.

21                      Did you vote in the January Senate runoff?

22                  A   I went in to vote in person.              However, to

23        this day, I don't know if my ballot was counted.

24                  Q   Okay.     So when you -- why do you say that?

25                  A   Why do I say --

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1                   Q   Why do you think your ballot wasn't counted?

2                   A   Oh; okay.

3                   Q   Sorry.

4                   A   So for the presidential election, I went to

5         vote in person, and I was able to log into the voter

6         registration website and check the status of my -- of

7         my vote, and it said that it was accepted.                  And then

8         for the special election, I did the same thing, and I

9         went to the voter registration website, and I checked

10        to see if my vote was accepted, but it was blank.                    So

11        I -- to this day, I don't know if it was accepted or

12        not.

13                  Q   Okay.    So when you went to go vote, can you

14        tell me a little bit about what happened when you went

15        to go vote, since you're questioning whether your vote

16        was accepted or not?          Just so I can have a little

17        background on that.

18                  A   Right.    So for the special election, I went

19        to vote.      I got in line.        And when it was my turn to

20        present my identification to vote, she -- the worker

21        there wrote my name down on a piece of paper, and she

22        said that my vote was being challenged.                 And at that

23        point in time, I actually didn't even know what --

24        what my vote being challenged even meant.                 And she

25        said that I would have to -- so I asked her for

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1         clarification -- "What does that mean?" -- and she

2         said that I would have to cast my vote on paper and

3         provide two forms of identification stating that --

4         two forms of identification with my mailing address

5         that's on my driver's license in order for my vote to

6         count.        So that is why I still don't know if my vote

7         was counted.

8                   Q     Okay.     I understand that.             All right.

9                                 MS. KRAMER:      Bailey, can we please go

10        to the second tab, for the runoff?

11                                TECH CONCIERGE:        Yes.       That's what I

12        have pulled up here.

13                                MS. KRAMER:      Oh; perfect.

14                                TECH CONCIERGE:        2021?

15                                MS. KRAMER:      Yeah.         Thank you.

16                                TECH CONCIERGE:        You're welcome.

17        BY MS. KRAMER:

18                  Q     Okay.     So Ms. Heredia, this is from the

19        voter absentee files, like I said, from the Secretary

20        of State's website.           Just different -- same file,

21        just -- well, different file, just the information for

22        2021 for that runoff.            And if you look under column

23        N --

24                  A     Yes.

25                  Q     -- if we can expand that.                So your mailing

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1         address under here looks as though it's in Decatur,

2         Georgia.      This is just the information that the

3         Secretary of State has on their files.                Did this

4         address match your driver's license at the time when

5         you went to go vote in January?

6                   A   No.     That's not the address on my driver's

7         license.

8                   Q   Okay.     Do you know why your mailing address

9         would be Decatur on the record for 2021 in January if

10        your registration address is in Banks County?

11                  A   I actually don't know.

12                  Q   Did you change your address between November

13        2020 and January 2021?           Did you file any change of

14        address forms or have your mailing address be changed

15        to Decatur, Georgia?

16                  A   I submitted a change of address in February

17        of 2020.      And then from there, I did not submit any

18        other change of -- changes of address with the

19        U.S.P.S.

20                  Q   Did you use this address with someone or an

21        organization different than the U.S.P.S., that would

22        explain why your address here is Decatur?

23                  A   I don't recall.         I don't remember.

24                  Q   Have you ever lived at this address before?

25                  A   Have I lived in North Druid Hills Road?

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1                   Q   Yes.

2                   A   Yes.

3                   Q   When?

4                   A   In -- when I'm -- so I got the job with AT&T

5         and I moved to Atlanta; and then in March, I moved

6         back to Banks County.

7                   Q   Okay.     And this is where you lived for those

8         two months at the beginning of 2020?

9                   A   Correct.

10                  Q   Okay.     I understand that.           So let's see.     So

11        let me ask you a few questions about what happened

12        when you went to go vote in person.

13                              MS. KRAMER:      We can take this exhibit

14        down for the time being, Bailey.                Thank you.

15                  Q   So when the election worker told you that

16        your vote was being challenged, can you tell me a

17        little bit about that exchange?                What did he or she

18        give you?      What did they say to you?              And then exactly

19        what happened right after that?

20                  A   So -- sorry; can you break that down into,

21        like, one question at a time?

22                  Q   Sorry.     Yeah.    So what did the election

23        office say to you when they told you that you were

24        being challenged?

25                  A   Okay.     She said to me that my vote was being

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1         challenged.        And then I asked her what that meant.

2         And she said that -- I actually don't even know if --

3         I can't even remember if she explained it, but she

4         said that I would need to fill out a paper ballot and

5         provide two forms of identification that had the

6         address that's on my driver's license in order for my

7         vote to count.

8                   Q     Okay.     And you provided those two forms of

9         documents?

10                  A     Yes.     I did.

11                  Q     Okay.     So based on what they told you, if

12        you provided those two forms, then your vote would

13        count.        Correct?

14                                MS. FORD:     Objection.       Calls for some

15        speculation.

16                                MS. KRAMER:      I'll rephrase.

17        BY MS. KRAMER:

18                  Q     Based on what the election worker told you,

19        that you had to give her two forms of identification

20        in order for your vote to count, and then you gave her

21        those forms of identification, do you then believe

22        that your vote would be counted?

23                  A     If I relied on what she was telling me, yes.

24        But I -- you know, I would like to see, like -- so for

25        the presidential election, I was able to see actual

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1         confirmation on the voter registration website.                    It

2         said, when I logged in -- it said, you know, "Your

3         vote was accepted."         And then I did the same thing for

4         the special election, and where it usually says

5         "accepted," it was just blank.               So I don't really have

6         confirmation that my vote was -- that my vote counted.

7                   Q    Okay.    So just to clarify, for the November,

8         you did vote in person on the electronic ballot

9         machine, and the runoff was a provisional, written

10        ballot.       Right?

11                  A    That's correct.

12                  Q    Okay.    Did you receive a document from the

13        election official when they told you your vote was

14        being challenged?

15                  A    Yes.    She provided a document, and it looked

16        like a printout of an email, but I can't recall what

17        was on the document.          So I know it was an email, but I

18        can't recall what specifically it was, and I don't

19        have that document anymore.

20                  Q    Okay.    Just to clarify, the person that gave

21        you that document was an election worker with Banks

22        County?

23                  A    I believe so; yes.

24                  Q    Okay.    And it wasn't anybody at True the

25        Vote?

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1                   A   I -- I don't think so.

2                   Q   And it wasn't any of the defendants in this

3         lawsuit?

4                   A   I don't think so.

5                   Q   Okay.     I now want to turn just to a few

6         questions about -- I guess kind of going back to some

7         of these exhibits -- about how you got to the point of

8         being challenged.         I know it can be kind of confusing,

9         and it's a new area for a lot of us, but I just kind

10        of want to go through the code section with you, just

11        so we can both be on the same page.

12                              MS. KRAMER:      Bailey, can you please

13        pull up Exhibit J?

14                              TECH CONCIERGE:        Please stand by.       You

15        said J; correct?

16                              MS. KRAMER:      J.    Yes.

17                              TECH CONCIERGE:        This is Exhibit J.

18                              (Exhibit J was marked for

19                              identification.)

20                              MS. KRAMER:      And can we scroll -- well,

21        okay.

22        BY MS. KRAMER:

23                  Q   Ms. Heredia, what I'm showing you is a

24        section of the Georgia election code.                This is also as

25        provided on the Secretary of State's website.                   And the

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1         provision code in which your vote was challenged is

2         under 21-2-230, as I'm sure you know based on the

3         complaint.      Are you familiar with this statute?

4                   A   I -- I'm not.       I haven't read through this

5         statute before.

6                   Q   Okay.     And that's completely fine.            So under

7         the election code, since you're not familiar with

8         it --

9                               MS. KRAMER:      Can we please go to page

10        2, section I?

11                  Q   And Ms. Heredia, I just kind of want to go

12        through this with you, just so you can be familiar

13        that the County kind of has a certain procedure it has

14        to follow when they notify voters that they're being

15        challenged on the basis of residency.

16                      And so here -- well, I don't want to read

17        this straight to you, but I do want to know if, as

18        stated in here, that you were able to -- well, I want

19        to kind of point out that it does say that because

20        they were not able to conduct a hearing, that you do

21        have to vote by provisional ballot.                  And you were able

22        to do so.      Right?

23                              MS. FORD:     Courtney, I'm going to just

24        object to this to the extent you're asking her to read

25        a statute and draw legal conclusions.                  I think factual

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1         questions are fine, but --

2                               MS. KRAMER:      I can rephrase.         I was

3         just trying to compare what happened in person

4         compared with what the statute says.                    I wasn't really

5         trying to ask her to draw a legal conclusion with it.

6                               MS. FORD:     Jocelyn, you can answer.

7                               I'll just say, I'll object to anything

8         that is asking Ms. Heredia to conclude whether what

9         she experienced conforms with section 230.                    But I have

10        no objection to her answering what she experienced and

11        what happened to her that day.

12                              MS. KRAMER:      Okay.         Okay.

13        BY MS. KRAMER:

14                  Q   So Ms. Heredia, toward the middle of the

15        statute -- do you recall where you placed your ballot

16        once you filled it out?

17                  A   I -- right.      Yes.      I do recall.        I actually

18        filled out the paper ballot, and then I had to give it

19        to the -- who I believe is the -- the worker.                    And she

20        told me that I could not seal it myself, so she went

21        to the back to -- there was, like, a hallway.                    She

22        went through the hallway and into a room.                    And she

23        said that she had sealed it.              And that's all I know.

24                  Q   Okay.     So you didn't see her seal the ballot

25        at all?

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1                   A    That's correct.        I did not see her seal the

2         ballot.

3                   Q    Did you see any other people at the polling

4         location that day, while you were there, have to fill

5         out a paper ballot?

6                   A    Yes.   I did, actually.          A lady behind me.

7         She was, I believe, of Asian descent; I can't confirm.

8         She looked Asian -- of Asian descent.                She also had to

9         fill out a paper ballot.

10                  Q    And when she finished filling out that

11        ballot, did you see where her ballot was placed?

12                  A    I did not.     So I was in line before her, so,

13        you know, I -- I gave my ballot with the envelope to

14        the worker, and she said that I would need to provide

15        two forms of identification with my mailing address in

16        order for my vote to count.              And then that's when she

17        went to the hallway, into a room.

18                       And then at the same time, I could see that

19        this lady that was behind me was filling out a paper

20        ballot.       But then at that point I left to go to

21        find -- either go home to find two forms of

22        identification, or -- I was going to -- I was going to

23        check my car to see if I had two forms of

24        identification there.          So I didn't actually see what

25        happened to her ballot.

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1                   Q   Okay.     And I just want to clarify that

2         before you gave your ballot to the election worker, or

3         who you believe was the election worker, you did place

4         it in the envelope.         Right?

5                   A   No.     I did not place it in the envelope.

6                   Q   Okay.     So you gave her the open ballot and

7         then the envelope in the other hand?                  Or did she have

8         the envelope?         I'm just trying to figure out how --

9                   A   Yeah.     So I provided the envelope, and then

10        I provided my ballot.          But I can't remember if I

11        folded it or I just gave it to her.                  But I do remember

12        that I did not put it inside the envelope.                  And I did

13        not seal it --

14                  Q   Okay.

15                  A   -- I provided both.

16                  Q   Okay.     Thanks for clarifying that.            And then

17        I just want to touch real fast on the lady behind you.

18        You said she was filling out a provisional ballot.                     Do

19        you know why she was?

20                  A   I don't know.

21                  Q   Okay.     So you don't know if the lady behind

22        you was a voter being challenged or if she chose to

23        vote on a paper ballot?

24                  A   I -- I don't know.          Yeah.      I -- I wasn't --

25        like, they would talk to the people individually.                    So

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1         I -- I don't -- I don't know.                I didn't overhear

2         anything.

3                   Q   Okay.    So they talked to her individually.

4         So when the election worker told you that your vote

5         was being challenged, did they talk to you

6         individually about that as well?

7                   A   Yes, they did.        And it wasn't, like,

8         individually, like, in a room or anything.                  It was --

9         you know, people are around; there's people close by

10        submitting their ballot in -- on a machine; there's

11        people in line.        But she would keep her voice down

12        when she was speaking to -- to certain people.

13                  Q   Okay.    So she didn't, like, raise her voice

14        when she was telling you that you were being

15        challenged.      It wasn't some announcement to the

16        polling location.

17                  A   Right.    It wasn't an announcement.             But

18        whoever was voting by paper ballot, they would make --

19        you know, they made me and the other woman step aside

20        as other people were able to cast their ballot on the

21        machine.

22                  Q   Okay.    But it was not public why people were

23        voting by paper ballot, based on your experience?

24                  A   While I was there, it was not public.                  But I

25        do know that my name, along with other challenged

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1         voters' names, were published on the Banks County

2         website.      And it was public information for six

3         months.

4                   Q   Okay.

5                               MS. KRAMER:      Bailey, can we please pull

6         up Exhibit E?

7                               TECH CONCIERGE:        This is Exhibit E.

8                               (Exhibit E was marked for

9                               identification.)

10        BY MS. KRAMER:

11                  Q   Ms. Heredia, does this look familiar to

12        you -- this PDF of the website of Banks County?

13                  A   Yes.     That's familiar.         That's what I was

14        referencing --

15                  Q   Okay.

16                  A   -- in my previous question.

17                  Q   Okay, perfect.        So can you tell me who -- or

18        I guess can you clarify:            This is obviously the Banks

19        County website, and not another organization's website

20        that has, I guess, the challenge list that you're

21        referring to?

22                  A   Correct.     This is the Banks County website.

23                  Q   Okay.     And was this challenge list published

24        on any other website, to your knowledge?

25                  A   To my knowledge, no.           But anything that's on

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1         the internet can be downloaded, replicated, put

2         elsewhere.      So it could be anywhere else.

3                   Q   I understand that.          But I'm just kind of

4         more asking that to your knowledge, that you know of,

5         you have not seen this challenge list any other place

6         but the Banks County website?

7                   A   Correct.

8                   Q   Okay.     Give me one second, Ms. Heredia.             On

9         this website, did you personally ever click or

10        download the challenge list?

11                  A   I clicked on it, but I did not download

12        it -- downloaded it for my reference.

13                  Q   Do you know of anybody that did download it?

14                  A   I'm not.

15                  Q   Okay.     So to your knowledge, this hasn't

16        really been put elsewhere.             Like I said, to your

17        knowledge, this list hasn't been put elsewhere but

18        just this website.

19                              MS. FORD:     I'm going to just object

20        that it calls for some speculation.

21                              THE WITNESS:       Right.

22                              MS. KRAMER:      I understand.      I'm just

23        asking the witness just to her knowledge, just right

24        now, if she knows of it being published anywhere else.

25                              THE WITNESS:       I don't know.

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1         BY MS. KRAMER:

2                   Q   Okay.     And I just want to clarify that what

3         you're viewing, and also to your knowledge, this

4         website's not operated by True the Vote; correct?

5                   A   That's correct.

6                   Q   And it doesn't appear to be operated by any

7         of the defendants, in your opinion?

8                   A   That's correct.         To what I can see on

9         this -- until "Banks County, Georgia," until the

10        "Resources" line, I -- I don't remember --

11                  Q   We can scroll.

12                  A   -- recently.

13                              MS. KRAMER:      Thank you, Bailey.

14                  Q   So, Ms. Heredia, did you see any of the

15        defendants' names on this website?

16                  A   I did not.

17                  Q   Okay.     Thank you.

18                              MS. KRAMER:      Bailey, can we please pull

19        up Exhibit F again?

20                              TECH CONCIERGE:        This is Exhibit F.

21                              MS. KRAMER:      Perfect.      Perfect.

22        BY MS. KRAMER:

23                  Q   Okay.     Ms. Heredia, I just want to go back

24        and just kind of discuss the basis of the challenge,

25        from what's in the complaint and from what you

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1         experienced.

2                           As you know, you were challenged on the

3         basis of residency.          And with that, I just wanted to

4         show you some instances of where your address has been

5         shown to be in Atlanta, just so you can see kind of

6         where the discrepancy might have been.                        Like I say,

7         under this document, the voter absentee files, your

8         mailing address says North Druid Hills, and it didn't

9         say North Druid Hills in the 2020 general election on

10        the first tab.          I just wanted to point that out to

11        you.          So this is just what the Secretary of State's

12        office and County offices had access to.

13                               MS. FORD:     Ms. Kramer, I'm just going

14        to object again, to foundation and to facts not in

15        evidence, just to the extent this is an Excel

16        spreadsheet.

17                               MS. KRAMER:      Okay.         Okay.

18                               MS. FORD:     Just for the record.

19                               MS. KRAMER:      Yeah.         That's fine.     And

20        like I said, we can submit certified copies of these

21        history files as well, just for clarification.

22        BY MS. KRAMER:

23                  Q       So you see here that your mailing address

24        here is in Commerce, and the one for the runoff is in

25        Decatur?          You see that?

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1                   A   I do see that.        However, I did submit the

2         change of address in February of 2020.                So, you know,

3         I submitted my change of address in February of 2020;

4         I was not challenged for the presidential election;

5         but I was challenged for the special election.

6                       And at that time, I had -- in January of

7         2021, when the special election occurred, I did not

8         change my address.         So from February 2020, my -- like,

9         I had not -- so, from February 2020, when I submitted

10        my change of address, I did not do -- I'm just, like,

11        confused why for November I was able to vote and I was

12        not challenged, but I had submitted a change of

13        address in February of 2020, and -- but now, in the

14        special election, I was challenged.

15                      And I believe it's because for the special

16        election, the popular vote counts, and then for the

17        presidential election, it's based off of the electoral

18        college.      So whether I voted or not, that county is

19        predominantly -- it -- it's a red county.                 So it would

20        run red for the presidential election no matter what.

21        But for the special election, my vote would actually

22        count, because it was a popular vote.

23                  Q   Okay.    Okay.     I'm just purely making note of

24        the fact that what's on record says that your mailing

25        address here is Decatur, and this would raise the red

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1         flag to the County.         I'm just showing you the

2         differences in your addresses on file in the general

3         versus the runoff.

4                   A   Okay.

5                               MS. KRAMER:      Can we please pull up

6         Exhibit B?

7                               TECH CONCIERGE:        This is Exhibit B.

8                               (Exhibit B was marked for

9                               identification.)

10        BY MS. KRAMER:

11                  Q   Ms. Heredia, does this document look

12        familiar to you?

13                  A   Yes.

14                  Q   Okay.     And does it appear to be a true and

15        accurate copy of --

16                  A   It does.

17                  Q   -- the document that you're familiar with?

18                  A   Yes.

19                  Q   Okay.

20                              MS. KRAMER:      Can you please scroll down

21        to page 4, Interrogatory No. 4?

22                  Q   So Ms. Kramer, I just want to clarify based

23        on what you've testified today.                Under your response

24        here, for Interrogatory No. 4, you state that you did

25        not change your mailing address back to Banks County

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1         after you moved back to Banks County in March 2020.

2         So the address -- so I'm asking -- but you previously

3         testified, I believe, that you did change your address

4         back to Banks County for the November election.

5                               MS. FORD:     Objection to the extent that

6         misstated testimony.

7                               THE WITNESS:       Correct.        I did not say

8         that.

9         BY MS. KRAMER:

10                  Q   Okay.     I'm just trying to verify.             And maybe

11        I, like, misunderstood you.              Okay.        So your mailing

12        address was Banks County -- or sorry; your mailing

13        address was Atlanta from the date that you submitted

14        your change of address through the election.

15                  A   That's correct.

16                  Q   Okay.     And when did you change your mailing

17        address back to Banks County?

18                  A   I changed my mailing address back to Banks

19        County actually pretty recently.

20                  Q   Okay.

21                  A   Because I learned that my job -- I don't

22        have to go back into the office until an indefinite

23        amount of time.

24                  Q   Okay.     Okay.     September, I believe you said.

25        Okay; I was just clarifying that.                    That makes sense.

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1         So you agree that your mailing address was Atlanta

2         during the runoff?

3                   A   Correct.

4                   Q   Okay.

5                   A   And I would like to add that it was -- it

6         is -- it was in Atlanta because I still had access to

7         the apartment.         So I could get my mail at any time.

8                   Q   I understand.       I understand.       I was just

9         making the comparison that, you know, your address

10        where you're registered to vote versus your mailing

11        address was different during that time period.

12                  A   Correct.

13                  Q   Okay.

14                              MS. KRAMER:      Bailey, can we please pull

15        up Exhibit H?

16                              TECH CONCIERGE:        This is Exhibit H.

17                              (Exhibit H was marked for

18                              identification.)

19        BY MS. KRAMER:

20                  Q   Ms. Heredia, is this your LinkedIn profile?

21                  A   That's correct.

22                  Q   And did you create this?

23                  A   Yes.

24                  Q   And you're the only one that has access and

25        control to it?

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1                   A      Yes.

2                   Q      Okay.     I just want to understand.             I guess

3         here, point out -- and if this is wrong, please

4         correct me -- but your city of where you live, on

5         LinkedIn here, shows Atlanta, Georgia.

6                                  MS. FORD:     Objection to the extent that

7         Ms. Kramer's characterizing what the exhibit says.

8                                  MS. KRAMER:      Okay.         I'll rephrase.

9         BY MS. KRAMER:

10                  Q      Ms. Heredia, why does the location here

11        state Atlanta, Georgia?

12                  A      It states Atlanta, Georgia because that is

13        where the office -- where the CNN office is, where my

14        employer is located.

15                  Q      Okay.     And when did you -- and this is not

16        your current employer?

17                  A      It is my current employer, yes.

18                  Q      Okay.     Could you please clarify?             I believe

19        you testified earlier your employer was AT&T.

20                  A      That's correct; yes.           AT&T -- CNN -- AT&T

21        owns CNN.         So we're -- AT&T is the parent company, and

22        CNN is -- I'm not sure what it's called, but under

23        AT&T.         So it goes AT&T, Warner Media, CNN.                So

24        technically, I work for AT&T; AT&T writes my checks.

25                  Q      Okay.     But under AT&T, the specific, I

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1         guess, department or division is CNN?

2                   A      That's correct.

3                   Q      Okay.     And you never -- is Atlanta, Georgia

4         still the location on your LinkedIn profile?

5                   A      I believe so.        I'm -- I've -- it's -- I

6         believe it's based off of what company you work at,

7         like, where your -- your company is based out of.                          So

8         I'm not sure if, like, I manually typed it in, or if

9         it just populates when you put in where you work.

10                  Q      Okay.     Okay.     Thank you for clarifying that.

11        Okay.         So Ms. Heredia, if you don't mind, can we take

12        about a five-minute break, since we're about an hour

13        into this?

14                                 MS. KRAMER:      If that's okay with you,

15        Counsel.

16                                 THE WITNESS:       It's okay with me.

17                                 MS. FORD:     Yes.     Sorry, I didn't

18        realize we were on mute.               Would you mind if we take a

19        ten-minute break so I can just run to the restroom?

20                                 MS. KRAMER:      Yeah.         Ten minutes is

21        fine.         Is that okay with you, Ms. Heredia?

22                                 THE WITNESS:       It's fine with me.           Yeah.

23                                 VIDEOGRAPHER:        The time is 14:58; we're

24        off the record.

25                                 (Off the record.)

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1                               VIDEOGRAPHER:       The time is 15:09; we're

2         back on the record.

3                               MS. KRAMER:      Great.        Bailey, can we

4         please pull up Exhibit L?

5                               TECH CONCIERGE:        Please stand by.         This

6         is Exhibit L.

7                               (Exhibit L was marked for

8                               identification.)

9         BY MS. KRAMER:

10                  Q   Ms. Heredia, does this document look

11        familiar to you?

12                  A   Yes.     I provided this document.

13                  Q   And was this what you received from U.S.P.S.

14        when you changed your mailing address?

15                  A   That's correct.

16                  Q   And just so I know, because I don't believe

17        it has it on this document, this was when you changed

18        your mailing address from Banks County to Atlanta

19        during 2020; right?

20                  A   That's correct.

21                  Q   Okay.     And you have not submitted another

22        one of these forms until September of 2021?

23                  A   Actually, I submitted another one previously

24        to September of 2021.

25                  Q   When did you submit another one of these?

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1                   A      I believe it was March of 2021, because

2         the -- this mailing -- this mailing -- this forwarding

3         mailing address was set to Decatur, Georgia, and the

4         contract for the apartment for this -- for

5         Decatur -- expired.            So I wanted to have another, you

6         know -- I -- so because the contract expired for the

7         Decatur apartment, I then got another apartment in

8         West Midtown.            So I submitted a change of address to

9         West Midtown in March of 2021.                  And then I submitted

10        another change of address for Banks County in --

11        around September 2021.

12                  Q      Okay.     So just to clarify, you had not

13        submitted a change of address form -- let me rephrase

14        that.         To clarify, during the 2020 election cycle,

15        this was the only change of address form that you had

16        filed with U.S.P.S.?

17                  A      Yes.     That's correct.

18                  Q      And this is what they had on file -- the

19        Atlanta address -- as your mailing address.                   Right?

20                  A      Yes.     That's correct.

21                  Q      Okay.     And from March 2021 to September of

22        2021, your mailing address was then West Midtown?

23                  A      That's correct.

24                  Q      Okay.     And it wasn't until recently -- I'm

25        just trying to get these dates right.                   And it wasn't

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1         until recently that you submitted another change of

2         address form to have your mailing address be in Banks

3         County?

4                   A   Correct.     I don't know the exact date, but

5         it was around September.

6                   Q   So fairly recently.

7                   A   Fairly recent; correct.

8                   Q   Okay.     Okay.    Just wanted to clarify that.

9         Great.

10                              MS. KRAMER:      Bailey, we can take this

11        exhibit down.

12                  Q   So Ms. Heredia, I want to discuss with you

13        next kind of like the basis for this lawsuit under

14        which you felt as though you were being intimidated

15        and targeted.         What made you feel intimidated?

16                  A   So when I went to go vote, I -- you know,

17        I'm relatively new to voting.               And I thought it would

18        be a super-easy process; you know, just get in line

19        and you cast your vote.           But it ended up being a

20        longer process for me.

21                      I -- I learned that my vote was being

22        challenged as I was there, and I actually didn't know

23        what that even meant.           And -- and when I was

24        challenged, I was the only Hispanic there voting.                    And

25        I noticed that the only other race besides white who I

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1         believe was also challenged -- well, she casted a

2         paper ballot -- was Asian.

3                       I put it -- you know, I connected the two,

4         and I thought that they were -- people of color were

5         being challenged.         And that made me feel intimidated.

6         And like I said, I didn't know what that even was, and

7         I didn't even know if it was legal.                  So that made me

8         feel intimidated.

9                   Q   But to clarify what you testified earlier,

10        you don't know if the lady that was behind you -- the

11        Asian lady -- if she was being challenged or not.                    You

12        just know that she was voting by provisional ballot.

13        Right?

14                  A   That's correct.

15                  Q   Okay.    And while you were at the polling

16        location, you said that you voted via provisional

17        ballot and this other lady.              About how long would you

18        say that you were at that polling location for?

19                  A   Maybe three to four hours.              So I -- when I

20        went to vote, I think I voted early -- actually, I

21        can't remember.        But there was a line and, you know, I

22        got in line to vote; and then when I casted my vote

23        through the paper ballot, I was told that I would have

24        to provide two forms of identification saying that I

25        do live in Banks County.

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1                       And so because of that, I either had to go

2         all the way home and find, you know, the forms of

3         identification; or, you know, at the time, I decided

4         to search my car.         So I searched my car for those two

5         forms, and then I had to get back in line -- like, the

6         back of the line -- and wait in line again.                  So it

7         took longer than I expected.

8                   Q   I understand.       Just a guess:       How long were

9         you actually inside the physical polling location for?

10        Not the line, but where you go to actually vote and

11        give the election worker your ID and things like that.

12        How long would you say you were in that room for?

13                  A   Twenty minutes, roughly.

14                  Q   Okay.    And you don't remember if you voted

15        early or if you voted on election day?

16                  A   I -- I don't remember.

17                  Q   Okay.    So you were inside that room where

18        the voters are for about 20 minutes, and you were the

19        only Hispanic person that you saw, being challenged

20        during that time.         Are you aware that there were

21        multiple days to go vote in person in Georgia?

22                  A   Yes.    I'm aware.

23                  Q   Okay.    So there could have been other people

24        being challenged on different days, but you didn't see

25        any of them.

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1                             MS. FORD:       Objection.       Calls for

2         speculation.

3                             MS. KRAMER:        I'll rephrase.

4         BY MS. KRAMER:

5                   Q   So you say that you felt intimidated because

6         you were the only Hispanic person there that was being

7         challenged, that you saw.             I'm just clarifying that

8         that you were only in that room for a period of

9         approximately 20 minutes out of the entire time of

10        early voting and election day voting.                 And that's that

11        time period in which you felt intimidated.

12                  A   So the Banks County -- where you go vote in

13        Banks County, it's a very, very small room.                  I believe

14        there's only two machines, and they were only letting

15        two people vote, and then one person who was in line,

16        in the location.

17                      So in that little tight space, I was only

18        there for 20 minutes; but actually at the location

19        where, you know, the line -- the line actually wrapped

20        around the building, because there was just not enough

21        space to be inside the voting -- like, inside the

22        actual building, which -- so I was actually there for

23        around three to four hours.              And that's the period

24        that I felt very intimidated.               Like, even when I went

25        home, I was still shocked.

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1                   Q    But you didn't feel intimidated or as if you

2         were being targeted until you were told that your vote

3         had been challenged?

4                   A    I guess -- so this is a predominantly red

5         county; it's Republican.            I'm in line with non-colored

6         people.       So I felt intimidated from the get-go, as

7         soon as I was there.          Because -- I don't know,

8         like -- I'm the only Hispanic coming to vote at a

9         predominantly Republican county; I'm the only

10        non-white; so from there, I felt intimidated.                   And

11        then when they told me my vote was being challenged,

12        that's when I really felt, like, okay, like, my vote

13        is being challenged.          That's when I felt it

14        stronger -- like, okay; you're trying to intimidate

15        me.

16                  Q    Did someone intimidate you in line leading

17        up to that point, though?             Did someone say something

18        to you?

19                  A    No one said anything to me, but I mean,

20        people can talk with their eyes -- like, can stare.

21        So no one said anything to me, but --

22                  Q    So it was a feeling that you had.

23                  A    Yeah; was --

24                  Q    I'm just trying to understand the events

25        leading up to when you voted.               So no one said anything

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1         to you in line that intimidated you or targeted you;

2         right?

3                   A   That's correct.

4                   Q   Okay.     And it wasn't until you got to go

5         give the election worker your license -- when she told

6         you that your vote was being challenged -- that you

7         felt intimidated, based on the challenge.                 Correct?

8                   A   Based on the challenge, yes.

9                   Q   Okay.     And do you understand that your vote

10        was challenged before you got in line that day?                    That

11        didn't occur when you got in line -- it didn't occur

12        when you came up to the election worker.                 Right?

13                              MS. FORD:     Objection.       It's kind of a

14        vague question.

15                              MS. KRAMER:      I'll rephrase.       Sorry,

16        Counsel.

17        BY MS. KRAMER:

18                  Q   Based on what you've learned thus far in

19        this citizen challenge process, as you know by the

20        complaint that you are a plaintiff on, are you aware

21        that your vote -- the challenge to the residency of

22        your vote had to have been done prior to you going to

23        vote that day?

24                  A   So you're asking me if I understand that the

25        challenge occurred before I was in line?

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1                   Q   Yes.

2                   A   Okay.     That makes sense.

3                   Q   And do you know who challenged you?

4                   A   I can't recall their names, but I believe it

5         was two men.

6                   Q   Okay.     And do you know anybody else who has

7         been challenged?

8                   A   So I don't know anyone by name who was

9         challenged, but after I was challenged, I did

10        research, and I found out that, you know, over 300,000

11        people were challenged.           But I don't know anyone's

12        name who was challenged.

13                  Q   Okay.     And I'll get to those questions in a

14        minute, about what happened after that.                 In Exhibit B

15        that we previously pulled up -- and we can pull it up

16        again, if you would like -- but you had stated that

17        you felt targeted by your race, and you testified that

18        here; right?         That you felt as if you were targeted by

19        your race, because you were the only Hispanic person

20        in that room that you saw that was being challenged?

21                  A   Correct.

22                  Q   Okay.

23                              MS. KRAMER:      Can we please pull up

24        Exhibit F again?

25                              TECH CONCIERGE:        Please stand by.       This

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1         is Exhibit F.

2                               MS. KRAMER:      And can we please go to

3         the third tab?

4         BY MS. KRAMER:

5                   Q   Ms. Heredia, what I'm showing you is the

6         voter registration file, which is where people get

7         their list of challenges from, or the voter

8         information from.         I've noted your counsel has

9         objected to this based on it being an Excel sheet, but

10        I will just also note that we can submit this as a

11        certified copy as well.           I just pulled out your

12        section of the registration file from the Secretary of

13        State.

14                      If you notice, under column Q, race says

15        "U," which is "unknown."

16                  A   Okay.

17                  Q   I also, just to clarify that ...

18                              MS. KRAMER:      Can we pull up Exhibit N?

19                              MS. FORD:     Ms. Kramer, I'm just going

20        to object to the extent you're giving testimony about

21        what an exhibit shows.

22                              MS. KRAMER:      Okay.

23                              TECH CONCIERGE:        This is Exhibit N.

24                              (Exhibit N was marked for

25                              identification.)

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1                                 MS. KRAMER:      Can we zoom in to Banks

2         County please?           Row 15.

3                                 TECH CONCIERGE:         That help?

4                                 MS. KRAMER:      Yes.     That's perfect.

5         Actually, Bailey, can we easily go back to Exhibit F

6         real fast?        Thank you.

7         BY MS. KRAMER:

8                   Q     Okay.     Ms. Heredia, I just want to just go

9         back to this and just kind of get your understanding

10        of it.        Do you recall, when you filled out your voter

11        registration file, whether or not you put down what

12        race you were?

13                  A     I don't recall.

14                  Q     Okay.     So you don't recall if you put down

15        "Hispanic" or "unknown"?

16                  A     I don't recall.         Like it says, I registered

17        in 2017.        And I haven't changed it since then.             So,

18        you know, at this point, that's four years ago.

19                  Q     Okay.     So you haven't changed your file

20        since 2017?

21                  A     I don't believe so.

22                  Q     Okay.     Okay.     Based on this file, in your

23        opinion, would someone know your race?

24                                MS. FORD:     Objection.       Object on the

25        basis of foundation, and calling for speculation here.

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1                             MS. KRAMER:        Counsel, witness said that

2         she felt targeted on the basis of race.                    And per the

3         challenges, this is the only information on file that

4         can be submitted for that challenge.                    And I'm just

5         trying to understand if someone who was viewing this

6         file would be able to target Ms. Heredia based on her

7         race, based on the information in the Secretary of

8         State's files.

9                             MS. FORD:       I mean, you can ask the

10        question.      I'll continue to object to the extent that

11        it's not in evidence.          So if this is the only thing

12        that was examined and her name is right there as well.

13                            MS. KRAMER:        Okay.         I understand.

14        Okay.

15        BY MS. KRAMER:

16                  Q   So Ms. Heredia, I'll ask again:                Based on

17        this, would someone be able to determine that you are

18        of Hispanic race?

19                  A   So, based off of what I'm seeing in the

20        document, it says race "U," which I think is

21        "unknown."      However, you can easily look me up on

22        Google and find my ethnicity, just by looking at me,

23        honestly.      Just as easily as you were able to find my

24        LinkedIn.      Anyone can Google someone's name and find

25        out more information on them.

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1                   Q   Okay.    And do you know if somebody did that?

2                   A   I don't know.

3                   Q   And to your knowledge, your challenge was

4         just solely based on residency; correct?

5                   A   I'm sorry; can you repeat that?

6                   Q   Based on your knowledge of the lawsuit and

7         the complaint, and your challenge, your specific

8         challenge was only based on your residency.                  Is that

9         correct?

10                  A   So I'm not sure if my challenge was just

11        based on my residency.           I guess that's one part of it.

12        But I do know that, just from my research after I was

13        challenged, a majority of the people who were

14        challenged were people of color.

15                  Q   You know that to -- how do you know that?

16                  A   Just off of research.            Googling, you know,

17        who was challenged.         And I -- through Googling it, I

18        found that approximately 300,000 people were

19        challenged, and a majority of them were either in

20        counties that have predominantly people of color

21        residing in them or people of color in other counties.

22                  Q   So -- okay.      So I understand your last part,

23        but can you kind of help walk me through how you --

24        what you read, or how you know that these people were

25        predominantly of color, that were challenged?                   You

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1         told me the makeup of the counties that were

2         challenged, but not the people that were challenged in

3         those counties.

4                   A       I guess -- so I say that because my county,

5         Banks County, is not predominantly -- it does not have

6         diversity.          So I guess I'm speculating.            Based off my

7         experience, the county that I'm in, it's not a county

8         where there's a lot of people of color.                    But I do know

9         that I was challenged, and counties that have people

10        of color were also challenged.

11                  Q       But you don't know if those people --

12                  A       And --

13                  Q       -- challenged were people of color.

14                  A       Correct.    I can't verify it.          I just Googled

15        it.       So --

16                  Q       So would it be correct to say, based on your

17        testimony, that you don't know the ethnicities of

18        other people who were challenged?

19                               MS. FORD:       Objection.       Mischaracterizes

20        testimony.

21                               MS. KRAMER:        I'm trying to clarify if

22        the witness knows or is just speculating as to the

23        ethnicity of others who were challenged.                    Not the

24        makeup of the counties, but the people on the

25        challenge lists.

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1                                THE WITNESS:       So you're saying the

2         people of the challenge list?                So I know I'm a person

3         of color who does not live in a predominantly -- in a

4         county that has other people of color.                So I'm basing

5         it off of my experience.

6         BY MS. KRAMER:

7                   Q    Okay.     Okay.    I understand that.        I'm just

8         trying to understand your previous statement.                   Do you

9         know others who were challenged who were also of a

10        different ethnicity than the predominant ethnicity in

11        that county?

12                  A    No.     I do not know their names.

13                  Q    Okay.     And you don't know any other people,

14        or their ethnicity, that were challenged in your

15        county.       Right?

16                  A    I don't personally know other people who

17        were challenged.

18                  Q    Okay.     Okay.    And you didn't look their

19        ethnicity up online or anything like that; did you?

20                  A    I did not search for their names and then

21        try to find their ethnicity; no.

22                  Q    Okay.     You just know that based on your

23        research, there was a large number of people that were

24        challenged; is that what you're trying to say?

25                  A    Correct.     It was an article that had

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1         information about the challenge, and all it said was

2         it was -- it said a lot of information.                 But to your

3         point -- I'm sorry; what was the point?

4                   Q   I'm saying that, based on your research, you

5         said that there were a lot of challenges, and I was

6         just confirming that you don't personally know of any

7         of the ethnicities of those other challenges besides

8         yourself.

9                   A   Correct.     I can't verify.

10                  Q   Okay.     And you just read this, like, in an

11        article?

12                  A   Several articles, with a Google search.

13                  Q   Okay.     Like news outlets?

14                  A   Yeah.     It might have been news outlets, and

15        different people who wrote about it.

16                  Q   Okay.     So people's, like, personal blogs, or

17        something of that nature?             I'm just trying to get an

18        understanding of what you read.

19                  A   No.     It wasn't personal blogs.          It was what

20        I believed as trustworthy.             So news organizations.

21                  Q   Were any of them certified, like, public

22        records or documents?

23                  A   No.

24                  Q   They were just news cycles, or news outlets?

25                  A   Correct.

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1                   Q   That in your personal opinion are reputable?

2                   A   Correct.

3                   Q   Okay.

4                               MS. KRAMER:      Oh, Bailey, you can take

5         this down.      Thank you.       Sorry.

6                   Q   How did you get involved with Fair Fight?

7                   A   So when I learned that my vote was being

8         challenged, I went home and I was confused by the

9         whole experience.         Like I said before, I actually

10        questioned whether this was legal.                   So I called a

11        voting rights hotline, and I asked them for

12        information on what being challenged meant, and I told

13        them my story.         And months later, I was contacted by

14        Fair Fight.

15                  Q   Okay.     Which hotline did you call?

16                  A   I don't remember the specific hotline, but

17        it was, like, a voter rights hotline.

18                  Q   Okay.     And it wasn't the Secretary of

19        State's hotline?

20                  A   So I actually -- so I called the voter

21        rights hotline, and then they told me to -- because I

22        was asking them if there was a way to verify that my

23        vote would count, and they told me to call the

24        secretary -- I'm actually not sure of her title.                     But

25        I guess it's someone in Banks County who can verify

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1         whether my vote was counted, and it was on the Banks

2         County website -- the phone number.                    And I called

3         several times, and nobody picked up.

4                   Q   When was the last time that you called Banks

5         County to figure out if your vote was counted?

6                   A   Maybe February of 2020.                So like, within the

7         same time frame; not recently.

8                   Q   Do you mean to say February 2021?

9                   A   Oh, sorry.      February of 2021.

10                  Q   That's okay.       And so at what point -- about

11        when did Fair Fight reach out to you?

12                  A   I don't remember the exact date, but I

13        remember it was months later.

14                  Q   Months later.       So like, months had passed

15        since the last time you had tried to call the

16        elections office to figure out if your vote was

17        counted?

18                  A   It was so long ago that I don't remember the

19        exact date.      But it could have been a month later,

20        months later -- I can't -- I can't say when it was.                       I

21        just don't remember.

22                  Q   Okay.    That's fine.         When you tried to reach

23        the elections office in Banks County, did you ever

24        leave a message with the County?

25                  A   I don't remember if that was possible.

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1                   Q   Did you ever file a complaint with the

2         County?

3                   A   No.

4                   Q   Did you ever email the County?

5                   A   No.     I don't -- I don't even know where --

6         like, who to email about it.

7                   Q   Okay.     So who did you call at Banks County,

8         if you went to the website?

9                   A   At this point in time, I don't remember.                 So

10        on the website, there was just -- it said, like, you

11        know, polling hours; you know, information on how to

12        vote; and then it was, like, if you have any

13        questions, issues, whatever, the number was there.

14                  Q   Okay.     Do you have a guess of about how many

15        times you called that number -- just a rough guess?

16                  A   Maybe, like, five times.

17                  Q   Okay.     But you didn't try to reach out to

18        the County another -- or did you look through the

19        County website to find if there was an email address?

20                  A   I was looking for, like, any type of contact

21        information.        So I feel like if there was an email, I

22        would have found it.          All I remember was there being a

23        phone number.

24                  Q   Okay.     Besides calling the elections office

25        and the voter rights hotline, did you call any

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1         other -- well, I guess you talked to the Secretary of

2         State, you said.         Did you talk to any other hotlines

3         or people, officials, about your concerns about your

4         vote?

5                   A   I just talked to Christina when -- I just

6         talked to the hotline, and then Christina contacted me

7         from Fair Fight.         So just them and the Banks County

8         contact.

9                   Q   Okay.    Have you talked to anybody from Banks

10        County up to this point?

11                  A   No.

12                  Q   Were you ever notified that you had been

13        removed from the voter list?

14                  A   I have not been -- have I been contacted?

15                  Q   Correct.

16                  A   I have not been contacted.

17                  Q   So to your knowledge, you are still on that

18        voter list in Banks County?

19                  A   To my knowledge, I could still be on that

20        challenged voter list.

21                  Q   Okay.    I'm just clarifying that no one's

22        contacted you, and that you haven't received anything

23        notifying you, that you're in jeopardy of being taken

24        off the list.

25                  A   You say in jeopardy of being taken off the

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1         list of challenged voters?

2                   Q    No; not of challenged voters.              Of being

3         taken off the list of registered voters for Banks

4         County.

5                   A    Correct.    I have not been contacted by

6         anyone from Banks County.

7                   Q    Okay.   And just to clarify, since February

8         of this year, you haven't tried to reach back out to

9         Banks County to find out if your vote was counted?

10                  A    That's correct.        I haven't contacted Banks

11        County.       But I did -- I don't know, I guess

12        recently -- look at the voter registration page to see

13        if there was anything that would say if my vote was

14        counted or not.

15                  Q    Okay.   And you're still able to log into the

16        Banks County -- are you still able to log into your

17        voter registration page for the State of Georgia?

18                  A    Yes.

19                  Q    And it still says that you're a registered

20        voter?

21                  A    Yes.

22                  Q    Okay.   Just making sure.             So after Fair

23        Fight reached out to you -- or I guess -- who from

24        Fair Fight reached out to you?

25                  A    The only person I remember is Christina.

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1                   Q   You haven't talked to anybody else involved

2         with Fair Fight about this?

3                   A   My lawyer, Uzoma; and that's all, I believe.

4                   Q   And did she approach you, I guess, about

5         being a plaintiff in this lawsuit?

6                             MS. FORD:       Objection to the extent this

7         is going to get into attorney-client, confidential

8         conversations.

9                             MS. KRAMER:        I'll rephrase.

10        BY MS. KRAMER:

11                  Q   Did you ask to be a plaintiff in this

12        lawsuit, or did someone ask you to be a plaintiff in

13        this lawsuit?

14                            MS. FORD:       Jocelyn, I'm just going to

15        object and instruct you not to answer, to the extent

16        that you're going to reveal any conversations that you

17        had with me or Uzoma.

18                  Q   Who all did you communicate with regarding

19        your concerns about being intimidated as a voter?

20                  A   The hotline and Christina.

21                  Q   When you called the hotline, did they have

22        you fill out any kind of complaint or form or

23        documentation describing your experience?

24                  A   They took my story and what happened, and

25        that was all.

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1                   Q    And did they only communicate with you via

2         phone, or did they ever communicate with you in other

3         ways?

4                   A    Just phone.     Oh -- yeah; just phone --

5                   Q    Do you know --

6                   A    -- the hotline.

7                   Q    Oh, sorry.

8                   A    So for the hotline, it was just phone.                  And

9         then I've communicated with Christina through email.

10                  Q    Okay.   I understand that.            I was just more

11        trying to verify for the hotline that you called.                       And

12        do you recall the name of that hotline or where you

13        found that phone number?

14                  A    I don't remember the phone number; don't

15        remember, like, the actual name of the hotline.                    I

16        just know it was a voter rights hotline.

17                  Q    Okay.   I'm trying to figure out where you

18        found that number.          Did you Google it?          Did you ask a

19        friend?       How did you come across -- how did you know

20        to call this hotline?

21                  A    I'm pretty sure I Googled it.

22                  Q    Do you recall what you Googled when you were

23        trying to find out who to call?

24                  A    I think I -- so before I even called the

25        hotline, I did research on what being a challenged

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1         voter meant.        And then within that, there was, like, a

2         voter rights page.         And then I clicked that, and it

3         had a hotline.

4                   Q     Do you recall what website you read the

5         research about?         Sorry.    Do you recall what website

6         you looked at when you were learning about what being

7         a challenged voter meant?             Sorry; I'm trying to phrase

8         that the way you said it.             But what website that was

9         on?

10                  A     So I looked at several pages.

11                  Q     Okay.   Can you give me an example of a

12        couple of those?

13                  A     News outlets; maybe state official pages.               I

14        just --

15                  Q     Do you recall which news outlets -- oh,

16        sorry.        Finish; sorry.

17                  A     I just can't recall.         Like, I just looked up

18        "challenged vote" or something around those lines.

19        And just whatever popped up there is what I clicked

20        through.

21                  Q     With these news outlets that you said that

22        you possibly looked at, would these be similar news

23        outlets to the ones you described when talking about

24        the large amount of challenged voters, previously?

25                  A     It could be.     I just don't remember.

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1                   Q    Okay.     So I just want to go back through,
2          just so I understand, like, the timing of some of
3          this, Ms. Heredia.           When did you find out -- or I
4          guess, have you consistently worked at your job since
5          January of 2020?
6                   A    Can you repeat your question?                Have you
7          consistently worked at your job --
8                   Q    Have you been a fulltime employee of your
9          current employer since January of 2020?
10                  A    No.
11                  Q    At what point did you become a fulltime
12         employee?
13                  A    It was February 2021.
14                  Q    So around the same time that you became a
15         plaintiff in this lawsuit?
16                  A    I don't remember when I became a plaintiff
17         of this lawsuit.
18                  Q    But it was sometime after January of 2021;
19         correct?
20                  A    That I got a fulltime -- that I was a
21         fulltime employee?
22                  Q    Well, you stated that you became a fulltime
23         employee in February of 2021.                  I'm just trying to
24         figure out, at what point did you become a plaintiff
25         in this lawsuit?         I'm just confirming that it was

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1         sometime after January of 2021.

2                   A   That sounds accurate, because the special

3         election was in 2021.          So sounds accurate.

4                   Q   And does your current job know about your

5         involvement in this lawsuit?

6                   A   So they do, because I went to them asking if

7         I was able to, given the nature of my job.                  I wanted

8         to confirm with their law department that I was able

9         to be a plaintiff in this case.

10                  Q   Can you explain to me what you mean by the

11        nature of your job?

12                  A   So the department that I work for is CNN.

13        So it's a media company.            So I wanted to make sure

14        that my job didn't prohibit me or -- I wanted to make

15        sure that I could keep my job and be a plaintiff in

16        this case.

17                  Q   So you got your job before you were a

18        plaintiff in the lawsuit?

19                  A   Right.    But I was not a fulltime.            So at the

20        time, I was a temporary.

21                  Q   Okay.    Did you become -- I'm trying to

22        understand the timeline here.               At what point did you

23        become a fulltime employee?

24                  A   Around February.         So I've always worked for

25        this organization --

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1                   Q    Yeah.
2                   A    -- but initially, I was temporary, until I
3          got a fulltime offer.
4                   Q    So at the time that you were contemplating
5          being a plaintiff in this lawsuit, you were a
6          temporary employee.           Is that what you're saying?
7                                MS. FORD:       Ms. Kramer, I'm just going
8          to object to the relevance of this line of
9          questioning.
10                               MS. KRAMER:         I'm just trying to figure
11         out the timeframe, and based on the witness's
12         testimony -- nature of your job -- I'm just trying to
13         understand what the concern was and when she became a
14         fulltime employee.           And then that also goes to
15         residency questions, of if she knew she was going to
16         be staying in Atlanta or going back to Banks County.
17         I'm just trying to understand the timeframe of all
18         this.
19                               MS. FORD:       Okay.         I'm not sure that it
20         matters what the exact nature of her job was at the
21         time she became the plaintiff.
22                               VIDEOGRAPHER:          Counsel, this is Todd,
23         the videographer.          I need to start a new file,
24         whenever you get a second.                It'll take me about five
25         seconds to do it.

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1                             MS. KRAMER:        Okay.         You can go ahead

2         and do that.

3                             VIDEOGRAPHER:         This is the end of media

4         file number one.        The time is 16:03.              We're off the

5         record.

6                             (Off the record.)

7                             VIDEOGRAPHER:         This is the beginning of

8         media file number two.           The time is 16:04.            We're back

9         on the record.

10                            MS. FORD:       And Ms. Kramer, just real

11        quick, if you have a significant number of questions

12        remaining, I would just suggest a break.                     Because

13        we're coming on another hour.

14                            MS. KRAMER:        I only have a few more

15        questions, if that's okay.

16                            MS. FORD:       Jocelyn, are you okay with

17        that, or would you like a break?

18                            THE WITNESS:         Sure.        Let's keep going,

19        and I'll request a break if it's too many questions.

20                            MS. KRAMER:        I'll try to keep it brief,

21        Ms. Heredia.       I know it's Friday.               Okay.   I won't ask

22        many more questions; I just want to clarify --

23        Counsel, if you'll permit, I just want to clarify what

24        we just discussed, just so I understand.

25        //

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1         BY MS. KRAMER:

2                   Q     Ms. Heredia, you say that you were a

3         temporary employee at CNN at the time you filed the

4         lawsuit, and at some time after that time, you became

5         a fulltime employee?

6                                 MS. FORD:     I'm just going to object

7         that I believe that mischaracterizes testimony, though

8         I understand we're trying to clarify testimony at this

9         point.        Ms. Kramer, can you just phrase it in a direct

10        question for Jocelyn to answer?

11                                MS. KRAMER:      Yeah, sure.

12        BY MS. KRAMER:

13                  Q     Is it true that you became a fulltime

14        employee at CNN after this lawsuit was filed?

15                  A     I don't remember when the lawsuit was filed

16        originally.        Like, I don't know the dates to be able

17        to tell you whether I was a fulltime after or before.

18                  Q     Okay.     But you just testified that you were

19        a temporary employee at the time, when you were asking

20        if it was okay that you would be involved in this,

21        with your work.

22                  A     Right.     In January -- so the special

23        election was in January, and then I guess -- so in

24        January I was a temporary.               And then in February I was

25        fulltime.        Around those dates.           It might have been

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1         March -- February, March.             Around -- it's around the

2         time of the end-of-year review, where they review your

3         performance.       And it's usually around February or

4         March.

5                   Q   Okay.     I understand.        I really was just

6         clarifying what you had stated before about --

7                   A   Okay.

8                   Q   -- about your status of your employment at

9         the time of the lawsuit.            I thought you had said that

10        you were a temporary employee; that's why you were

11        asking about your job.            I wasn't trying to confuse

12        you, or anything like that.              I was just trying to get

13        clarification on that.            Like I said, correct me if I'm

14        wrong, please.

15                  A   Okay.

16                  Q   Okay.     I have, like, two more questions

17        about this, and then I'm moving on.                    So your job knew

18        about the lawsuit prior to offering you the fulltime

19        position?

20                              MS. FORD:     Ms. Kramer, I'm just going

21        to object on the basis of relevance to this question.

22                              MS. KRAMER:      Okay.         I will ask that the

23        witness please answer.

24                              THE WITNESS:       Can you repeat the

25        question?

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1         BY MS. KRAMER:

2                   Q   Did your job know about the lawsuit prior to

3         offering you a fulltime position?

4                   A   I actually don't know.            I -- like I said, I

5         don't remember what specific dates I got the fulltime

6         position.      You know, I -- I would have to look on --

7         look through my pay stubs and find the specific date

8         that I became a fulltime position.

9                   Q   Okay.     Were you offered anything of value to

10        be a plaintiff in this lawsuit?

11                  A   No.

12                  Q   Who is paying your legal fees for this

13        lawsuit?

14                              MS. FORD:     Objection to the extent this

15        goes into privileged legal matters.                  So I'll instruct

16        you not to answer, Jocelyn.

17                              MS. KRAMER:      Is -- okay.

18        BY MS. KRAMER:

19                  Q   Is Fair Fight paying your legal fees today?

20                              MS. FORD:     Jocelyn, I'll instruct you

21        not to answer.

22        BY MS. KRAMER:

23                  Q   Ms. Heredia, has anyone from True the Vote

24        reached out to you about your eligibility to vote?

25                  A   No.

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1                   Q   Have any of the defendants contacted you

2         about your eligibility to vote?

3                   A   No; they have not.

4                   Q   Has anybody besides the election worker at

5         Banks County come up to you and discussed your

6         challenge eligibility?

7                   A   Correct.

8                   Q   So the only time this has been discussed, or

9         that you've been notified of this, was on election

10        date or the day that you went to vote in Banks County?

11                  A   Right.     The day of.

12                  Q   And to your knowledge, you are still

13        registered to vote, based on the State's website?

14                  A   Yes.

15                  Q   And have you received -- has anyone reached

16        out to you to try to intimidate you or harass you

17        based on your eligibility to vote since that election

18        day?

19                  A   No.    No one has contacted me.

20                  Q   So the only time that you felt intimidated

21        or targeted was that day?

22                             MS. FORD:      Objection on --

23                             MS. KRAMER:       Based on --

24                             MS. FORD:      I'm just going to object on

25        the basis that it mischaracterizes prior testimony.

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1                               MS. KRAMER:      I'll rephrase.

2         BY MS. KRAMER:

3                   Q   Has there been any other documents sent to

4         you or communications relayed to you about your

5         challenged eligibility to vote since election day?

6                   A   That's correct.         I haven't received any

7         documents about the matter.              Or --

8                   Q   Or any communications?

9                   A   -- emails.      That's correct.        No

10        communications.

11                  Q   Okay.     Did you know who or what True the

12        Vote was, prior to this lawsuit?

13                  A   No.

14                  Q   And just to clarify, you haven't talked to

15        anybody at True the Vote about anything related to

16        your vote?

17                  A   That's correct.         I have not talked to anyone

18        from True the Vote.

19                  Q   Have you tried to reach out since February

20        to the election board to discuss your concerns about

21        your vote?

22                  A   No, I haven't.

23                  Q   And was the lawsuit -- based on your

24        recollection, was this filed after the last time you

25        tried to contact Banks County?               I'll rephrase that.

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1          Since this lawsuit's been filed, have you tried to
2          reach out to Banks County at all?
3                   A    No, I have not.
4                   Q    Okay.     And as it stands today, Ms. Heredia,
5          where is your current mailing address?
6                   A    304 Borders Road, Commerce, Georgia 30530.
7                   Q    Okay.     And that wasn't changed until
8          September of this year?
9                   A    Back to Banks County; correct.
10                  Q    Okay.     So during that time, it was on file
11         with U.S.P.S. as being in Atlanta?
12                  A    That's correct.           Yeah, that's -- sorry.
13         That's correct.         Because I have access to the
14         apartment.
15                  Q    Okay.     And besides your attorney -- I'm
16         assuming, when you say Christina, you mean Ms. Ford;
17         right?
18                  A    That's correct.
19                  Q    Besides communicating with Ms. Ford, you
20         haven't talked with anybody else at Fair Fight or
21         involved with Fair Fight?
22                  A    I've talked to Uzoma, and that's all.
23                  Q    Are you a member of Fair Fight?
24                  A    No.
25                  Q    It's an organization, so I'm just asking if

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1         you're a member of the organization.

2                   A   Oh.     No.

3                   Q   Okay.     I don't believe I have any further

4         questions.

5                               MS. FORD:       Great.      I also do not have

6         any questions.

7                               REPORTER:       I have a couple questions,

8         before we go off the record.                Ms. Ford, would your

9         client like to read and sign or waive signature?

10                              MS. FORD:       She would like to --

11                              VIDEOGRAPHER:         Let me go -- video -- if

12        that's all right.

13                              MS. FORD:       Sorry; I didn't hear that.

14                              VIDEOGRAHPER:         Can we stay -- do we

15        need to go off the video record?

16                              REPORTER:       I just need this for the

17        transcript.

18                              VIDEOGRAPHER:         We can keep going.      I

19        apologize.

20                              REPORTER:       Ms. Ford, would your client

21        like to read and sign or waive signature?

22                              MS. FORD:       She would like to read and

23        sign.

24                              REPORTER:       Okay.      And then Ms. Kramer,

25        would you like a copy of the transcript?

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1                             MS. KRAMER:        Please.

2                             REPORTER:       All right.       And then Ms.

3         Ford, would you like a copy?

4                             MS. FORD:       Yes, we would.       Thank you.

5                             REPORTER:       All right.       And then -- I'm

6         so sorry; I don't -- would your co-counsel like a copy

7         as well?

8                             MS. FORD:       No; we just need one copy.

9                             MR. NKWONTA:         Yeah; it's all going to

10        the same firm.

11                            REPORTER:       Okay.      I got you.    All

12        right.     The time is 4:18, and we are off the record.

13                            (Signature Reserved.)

14                            (Whereupon, at 4:18 p.m., the

15                            proceeding was concluded.)

16

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1                          CERTIFICATE OF NOTARY PUBLIC

2                      I, DEIDRA MUSICK NASH, the officer before

3         whom the foregoing proceedings were taken, do hereby

4         certify that any witness(es) in the foregoing

5         proceedings, prior to testifying, were duly sworn;

6         that the proceedings were recorded by me and

7         thereafter reduced to typewriting by a qualified

8         transcriptionist; that said digital audio recording of

9         said proceedings are a true and accurate record to the

10        best of my knowledge, skills, and ability; that I am

11        neither counsel for, related to, nor employed by any

12        of the parties to the action in which this was taken;

13        and, further, that I am not a relative or employee of

14        any counsel or attorney employed by the parties

15        hereto, nor financially or otherwise interested in the

16        outcome of this action.

                                                      <%21090,Signature%>

17                                                             DEIDRA MUSICK NASH

18                                              Notary Public in and for the

19                                                               State of Georgia

20

21        [X] Review of the transcript was requested.

22

23

24

25

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1                            CERTIFICATE OF TRANSCRIBER

2                      I, KATHLEEN LEISERSON, do hereby certify

3         that this transcript was prepared from the digital

4         audio recording of the foregoing proceeding, that said

5         transcript is a true and accurate record of the

6         proceedings to the best of my knowledge, skills, and

7         ability; that I am neither counsel for, related to,

8         nor employed by any of the parties to the action in

9         which this was taken; and, further, that I am not a

10        relative or employee of any counsel or attorney

11        employed by the parties hereto, nor financially or

12        otherwise interested in the outcome of this action.

13

14                                                       <%26669,Signature%>

15                                                             KATHLEEN LEISERSON

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1        Christina Ford

2        cford@elias.law

3                                       October 29, 2021

4        RE:        Fair Fight, Inc., Et Al. v. True The Vote, Et Al

5              10/15/2021, Jocelyn Heredia (#4845630)

6              The above-referenced transcript is available for

7        review.

8              Within the applicable timeframe, the witness should

9        read the testimony to verify its accuracy. If there are

10       any changes, the witness should note those with the

11       reason, on the attached Errata Sheet.

12             The witness should sign the Acknowledgment of

13       Deponent and Errata and return to the deposing attorney.

14       Copies should be sent to all counsel, and to Veritext at

15       litsup-ga@veritext.com

16

17        Return completed errata within 30 days from

18      receipt of testimony.

19          If the witness fails to do so within the time

20      allotted, the transcript may be used as if signed.

21

22                           Yours,

23                         Veritext Legal Solutions

24

25

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3                                 E R R A T A           S H E E T
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5        __________________________________________________
6        REASON____________________________________________
7        PAGE_____ LINE_____ CHANGE________________________
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21       REASON____________________________________________
22
23       ________________________________                      _______________
24       Jocelyn Heredia                                                  Date
25

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1        Fair Fight, Inc., Et Al. v. True The Vote, Et Al

2        Jocelyn Heredia (#4845630)

3                            ACKNOWLEDGEMENT OF DEPONENT

4              I, Jocelyn Heredia, do hereby declare that I

5        have read the foregoing transcript, I have made any

6        corrections, additions, or changes I deemed necessary as

7        noted above to be appended hereto, and that the same is

8        a true, correct and complete transcript of the testimony

9        given by me.

10

11       ______________________________                  ________________

12       Jocelyn Heredia                                       Date

13       *If notary is required

14                               SUBSCRIBED AND SWORN TO BEFORE ME THIS

15                               ______ DAY OF ________________, 20___.

16

17

18                               __________________________

19                               NOTARY PUBLIC

20

21

22

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25

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                              Georgia Code

                         Title 9, Chapter 11

                     Article 5, Section 9-11-30



    (e) Review by witness; changes; signing.

    If requested by the deponent or a party before

    completion of the deposition, the deponent shall

    have 30 days after being notified by the officer

    that the transcript or recording is available in

    which to review the transcript or recording and, if

    there are changes in form or substance, to sign a

    statement reciting such changes and the reasons

    given by the deponent for making them. The officer

    shall indicate in the certificate prescribed by

    paragraph (1) of subsection (f) of this Code

    section whether any review was requested and, if

    so, shall append any changes made by the deponent

    during the period allowed. If the deposition is not

    reviewed and signed by the witness within 30 days

    of its submission to him or her, the officer shall

    sign it and state on the record that the deposition

    was not reviewed and signed by the deponent within

    30 days. The deposition may then be used as fully

    as though signed unless, on a motion to suppress

    under paragraph (4) of subsection (d) of Code
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    Section 9-11-32, the court holds that the reasons

    given for the refusal to sign require rejection of

    the deposition in whole or in part.




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    ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

    THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

    2019.     PLEASE REFER TO THE APPLICABLE STATE RULES

    OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
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